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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 22-7063                                                 September Term, 2022
                                                                       1:13-cv-01215-TSC
                                                        Filed On: January 4, 2023
American Society for Testing and Materials,
et al.,

              Appellants

       v.

Public.Resource.Org, Inc.,

              Appellee


       BEFORE:       Henderson, Katsas, and Rao, Circuit Judges

                                         ORDER

        Upon consideration of appellants’ motion to exceed the word limit for their reply
brief, and the response thereto, it is

      ORDERED that the motion be granted. Appellants may file a reply brief not to
exceed 8,500 words.

                                        Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Amanda Himes
                                                          Deputy Clerk
